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                                 EXHIBIT C
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

      - - - - - - - - - - - - - - - - X
       BATALLA VIDAL, et al.,         :        16-CV-4756(NGG)
                                      :
                Plaintiffs,           :
                                      :
                                      :        United States Courthouse
              -against-               :        Brooklyn, New York
                                      :
                                      :
                                      :
                                      :        Monday, April 4, 2022
       KIRSTJEN M. NIELSEN, et al.,   :        3:15 p.m.
                                      :
                Defendants.           :
                                      :
      - - - - - - - - - - - - - - - - X

               TRANSCRIPT OF CIVIL CAUSE FOR STATUS CONFERENCE
                  BEFORE THE HONORABLE NICHOLAS G. GARAUFIS
                        UNITED STATES DISTRICT JUDGE

                             A P P E A R A N C E S:

        For the Plaintiffs:       JEROME N. FRANK
                                  LEGAL SERVICES ORGANIZATION
                                  YALE LAW SCHOOL
                                  For the Plaintiffs -
                                  Antonio Alarcon, et al.
                                        P.O. Box 209090
                                        New Haven, Connecticut 06520
                                  BY: MEDHA SWAMINATHAN, Law Student
                                      MUNEER AHMAD, ESQ.
                                      DANIEL OCAMPO
                                      AASHA SHAIK
                                      KEVIN CHENG
                                      AARON BRYCE LEE
                                      MICHAEL WISHNIE, ESQ.

                                 MAKE THE ROAD NEW YORK
                                 For the Plaintiffs -
                                 Antonio Alarcon, et al.
                                        46 Waller Avenue
                                        White Plains, New York 10605
                                 BY: JESSICA YOUNG, ESQ.




                       Anthony D. Frisolone, FAPR, RDR, CRR, CRI
                                Official Court Reporter
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                      A P P E A R A N C E S: (Continued.)



        For the Plaintiffs:      NATIONAL IMMIGRATION LAW CENTER
                                 Attorneys for the Plaintiff -
                                 Antonio Alarcon, et al.
                                   3450 Wilshire Boulevard
                                   #108-62
                                   Los Angeles, California 90010
                                 BY: JESSICA HANSON, ESQ.


                                 NYS OFFICE OF THE ATTORNEY GENERAL
                                 DIVISION OF APPEALS AND OPINIONS
                                        28 Liberty Street
                                        Suite 23rd Floor
                                        New York, New York 10005
                                 BY: ANISHA S. DASGUPTA, ESQ.


        For the Defendants:       UNITED STATES DEPARTMENT OF JUSTICE
                                  FEDERAL PROGRAMS BRANCH
                                  For the Defendants -
                                  Kirstjen M. Nielsen
                                        1100 L Street, N.W.
                                        Washington, DC 20005
                                  BY: STEPHEN M. PEZZI, ESQ.
                                      CORMAC A. EARLY, ESQ.

                                       BRAD ROSENBERG, ESQ.
                                       Associate Director, Federal Programs


                                  UNITED STATES ATTORNEY'S OFFICE
                                  EASTERN DISTRICT OF NEW YORK
                                  For the Defendants -
                                  Kirstjen M. Nielsen, et al.
                                        271 Cadman Plaza East
                                        Brooklyn, New York 11201
                                  BY: JOSEPH MARUTOLLO, ESQ.

      Court Reporter:     Anthony D. Frisolone, FAPR, RDR, CRR, CRI
                          Official Court Reporter
                          Telephone: (718) 613-2487
                          Facsimile: (718) 613-2694
                          E-mail: Anthony_Frisolone@nyed.uscourts.gov

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                                Official Court Reporter
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                                 Status Conference                          18


  1   Texas also referenced.      The Government's efforts to fortify

  2   DACA and to address some of the infirmities that he perceived

  3   and he expressed his understanding that they would be doing

  4   so promptly.

  5               As we described in our letter, there was a notice

  6   of proposed rule making.      The states provided a comment

  7   letter is, and so, that is another development that is

  8   ongoing.    Your Honor referred earlier to developments that

  9   are ongoing that may resolve this and we believe the rule

 10   making to be another source of potential relief for the

 11   plaintiffs here.

 12               THE COURT:    I see.   Well, before I held this job I

 13   was Chief Counsel of the Federal Aviation Administration in

 14   Washington and I'm very familiar with how rule makings tend

 15   to meander through the system and have to be carefully

 16   considered and revised and proposed and received, comment,

 17   and then issued.     So I don't know where the Department of

 18   Homeland Security is on rule making but this provides me with

 19   a momentary opportunity to find out where the rule making is

 20   that that has now been referenced.

 21               MR. PEZZI:    Sure, your Honor.

 22               THE COURT:    Mr. Pezzi.

 23               MR. PEZZI:    Ms. Dasgupta is correct.      There was a

 24   notice of proposed rule making issued in September of 2021.

 25   The comment period closed, I believe, in November of 2021.


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                                  Status Conference                          19


  1   It's a lengthy notice of proposed rule making, I'm sure many

  2   of the folks on the other side have read it.          There were

  3   about 16,000 or so comments that were submitted as I

  4   understand it and the agency is going through those comments

  5   as it is required to do under the APA.         And beyond that, I am

  6   unable, of course, to prejudge the final outcome of that rule

  7   making but it is under active consideration with the

  8   Department of Homeland Security.

  9               THE COURT:    Thank you.    And if a rule is issued,

 10   then it would be subject to litigation as well.              So, you

 11   know, where in a -- this issue is definitely of the future of

 12   DACA is definitely in flux.       I understand that, you all

 13   understand that, and the possibility of there being a

 14   legislative solution which is where we started on this, where

 15   I begged Congress to find a legislative solution, seems to

 16   have been unrequited, if you will, and I don't know what will

 17   happen.    But I'm glad that you mentioned the rule making

 18   which is, you know, if a rule is issued, I'm sure we'll all

 19   hear about it.

 20               I'm going to ask the Government to let me know if

 21   there's a new rule and then maybe this is all, you know, this

 22   whole all this litigation can be mooted by a rule.             There's a

 23   new rule but then there will be more litigation I assume at

 24   some point.

 25               MS. DASGUPTA:    Precisely, your Honor.          That was our


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                                Official Court Reporter
